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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE:

Chapter 11
In re:

, Case No. 08-13141 (KJC)}
TRIBUNE COMPANY, ef al,

)
)
)
)
) Jointly Administered
)
)
)
)

Debtors.
VERIFICATION
STATE OF ILLINOIS }
) ss
COUNTY OF COOK )

I, David J. Bradford, after being duly sworn according to law, deposes and says:

(a) 1 am a partner of the applicant firm, Jenner & Block LLP, and have been admitted
to the bar of the State of Illinois since 1976,

(b) I am familiar with the work performed on behalf of the Debtors by the attorneys
and paraprofessionals in the firm,

(c) I have reviewed the foregoing Application, and the facts set forth therein are true
and correct to the best of my knowledge, information and belief. Moreover, I have reviewed

Del. Bankr. L.R. 2016-2 and submit that the application substantially complies with such order,

QA

~ “David J. Bradford —

SUBSCRIBED AND SWORN TO BEFORE ME
THE [9+DAY OF AUGUST, 2010.

bsg

Notary Public

OFFICIAL SEAL
FRANCINE M. SATTELMAYER
17780461 NOTARY PUBLIC, STATE OF ILLINOIS

, MY, COMMISSION EXUIRES 7-9-2014

